                               Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 1 of 102 PageID #: 5623




Introduction
U.S. Patent Nos. 6,628,629, 7,359,971, 7,412,517 & RE46,206




                                                                                                                   1
                               Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 2 of 102 PageID #: 5624




The “optimize” terms
The ’971 Patent: Claim 12; ’206 Patent, Claims 1, 19, and 121




                                                                                                                   2
The Parties’ Proposed Constructions
                                 Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 3 of 102 PageID #: 5625




“to optimize end-user quality of service (QoS) [for an Internet Protocol (IP) flow / associated with said IP
flow]” (’971 Patent, Claim 12; ’206 Patent, Claims 1, 121)

“to optimize end-user internet protocol (IP) quality of service (QoS)” (’206 Patent, Claim 19)

 Defendants’ Construction                                                  IV’s Construction
 Indefinite. Issue preclusion applies.                                     “[so as] to differentiate between types of traffic or
                                                                           service types and allocate a different level of
                                                                           system resources to an Internet Protocol (IP) flow”




Dispute(s):
• Whether IV is issue precluded with respect to the “optimize end user QoS” terms in this case based
  on the District of Delaware’s final judgment finding “optimize” as used in the ‘248 Jorgensen
  Patent to be indefinite

• Whether the term “optimize end user QoS” renders the term indefinite
                                                                                                                                   3
IV Is Issue Precluded from Relitigating the Indefiniteness of the “Optimize” Terms
                                         Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 4 of 102 PageID #: 5626




 • Affects claim construction: If Court finds issue preclusion, claim construction disputes
   the terms below are moot:
                                                       Term                                                                    Patent / Claim(s)
               1 “to optimize end user quality of service (QoS) for an Internet Protocol (IP) flow”                          ’971 Patent Claim 12
    The        2 “so as to optimize end-user quality of service (QoS) associated with said IP flow”                          ’206 Patent, Claim 1
 “optimize”
   terms       3 “so as to optimize end-user internet protocol (IP) quality of service (QoS)”                                ’206 Patent, Claim 19
               4 “to optimize end-user quality of service (QoS) for an Internet Protocol (IP)flow”                           ’206 Patent, Claim 121
               5 “host workstation”                                                                                          ’971 Patent, Claim 12
                 “assigning means for assigning future slots of a transmission frame to a portion of
               6 said IP flow in said transmission frame to a portion of said IP flow in said                                ’971 Patent, Claim 12
  Additional     transmission frame for transmission over said share wireless network”
   Disputed    7 “means for applying an advanced reservation algorithm”                                                      ’971 Patent, Claim 12
   Terms in
 Claim 12 of        “means for reserving a first slot for a first data packet of an Internet Protocol (IP)
               8                                                                                                             ’971 Patent, Claim 12
   the ’971         flow in a future transmission frame based on said algorithm”
 Patent and      “means for reserving a second slot for a second data packet of said IP flow in a
 Dependents    9 transmission frame subsequent in time to said future transmission frame based on                            ’971 Patent, Claim 12
                 said algorithm”
                    “means for taking into account service level agreement (SLA) based priorities for
               10                                                                                                            ’971 Patent, Claim 18
                    said IP flow”
                                                                                                                                                      4
IV Is Issue Precluded from Relitigating the Indefiniteness of the “Optimize” Terms
                          Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 5 of 102 PageID #: 5627




     Identical issue
     Fully and vigorously litigated
     Necessary to support the judgment

     No special circumstances (Federal Circuit Affirmed)




                                                                                                              5
  IV Is Issue Precluded from Relitigating the Indefiniteness of the “Optimize” Terms
                                                     Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 6 of 102 PageID #: 5628




     • Judge Stark ruled that “optimize,” as used in the ’248 Patent, is indefinite




                                                                                                                                         EX#



                                         EX#




                                                                                                        EX#




Dkt. 20 Ex. 7, Intellectual Ventures I v. T-Mobile USA, Inc., 1:13-cv-1671, Dkt. 370, at *21 (D. Del. Aug. 12, 2016) (Claim Construction Mem. Op.) (Stark, J.)   6
  IV Is Issue Precluded from Relitigating the Indefiniteness of the “Optimize” Terms
                                                Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 7 of 102 PageID #: 5629




    • The Federal Circuit has affirmed that “optimiz[ing] . . . QoS” is indefinite
                                                          United States Court of Appeals
                                                              for the Federal Circuit
                                                                     INTELLECTUAL VENTURES I LLC,
                                                                            Plaintiff-Appellant
                                                                                     EX#
                                                                                       V.


                                                                 T-MOBILE USA, INC., T-MOBILE US, INC.,
                                                               ERICSSON INC., TELEFONAKTIEBOLAGET LM
                                                                 ERICSSON, UNITED STATES CELLULAR
                                                                           CORPORATION,
                                                                          Defendants-Appellees




                                                                                     EX#




Decision from Federal Circuit Court of Appeals in IV v. T-Mobile et al. (September 4, 2018), at 15                                  7
  IV Is Issue Precluded from Relitigating the Indefiniteness of the “Optimize” Terms
                                                Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 8 of 102 PageID #: 5630




    • The Federal Circuit has affirmed that “optimiz[ing] . . . QoS” is indefinite
                                                          United States Court of Appeals
                                                              for the Federal Circuit
                                                                     INTELLECTUAL VENTURES I LLC,
                                                                            Plaintiff-Appellant
                                                                                     EX#
                                                                                       V.


                                                                 T-MOBILE USA, INC., T-MOBILE US, INC.,
                                                               ERICSSON INC., TELEFONAKTIEBOLAGET LM
                                                                 ERICSSON, UNITED STATES CELLULAR
                                                                           CORPORATION,
                                                                          Defendants-Appellees




                                                                                     EX#




Decision from Federal Circuit Court of Appeals in IV v. T-Mobile et al. (September 4, 2018), at 15                                  8
IV Is Issue Precluded from Relitigating the Indefiniteness of the “Optimize” Terms
                                 Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 9 of 102 PageID #: 5631




                                                                      •The Asserted Jorgensen Patents
                                                                                              - Same inventor
                                                                                              - Same priority claim
         EX#




               EX#
                                                                                              - Same 41 pages of drawings
                                                                                              - Same 80 columns of
                     EX#



                           EX#



                                  EX#
                                                         EX#
                                                                                                disclosure
                                                                                              - Same claim term at issue



                                                                                                                            9
IV Is Issue Precluded from Relitigating the Indefiniteness of the “Optimize” Terms
                                     Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 10 of 102 PageID #: 5632




 • Claim 20 of the Adjudicated Jorgensen Patent claims “optimize” end
   user QoS.



                                                                            The invalidated claim equates:
                                                                            optimizing end user QoS to IP flows with
                                                                            optimizing end user QoS of a software application
                           EX#




                                                                            • IV’s opposition hinges on an illusory
                                                                              distinction between these phrases

   Dkt. 20 Ex. 5, the Adjudicated ’248 Patent at Claim 20



                                                                                                                           10
IV Is Issue Precluded from Relitigating the Indefiniteness of the “Optimize” Terms
                             Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 11 of 102 PageID #: 5633




 • Both the invalidated claim and the asserted claims recite: Optimizing end user QoS

Claim 20 of the Adjudicated Jorgensen Patent                                        Claim 12 of Asserted ’971 Patent



                                                                                                                  • • •
                                                                                                                    EX#
                     EX#




                             • No distinction between these phrases
                                 - In the patents
                                 - In the prosecution history
                                 - In the inventor’s testimony
                                                                                                                          11
IV Is Issue Precluded from Relitigating the Indefiniteness of the “Optimize” Terms
                             Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 12 of 102 PageID #: 5634




 • Both the invalidated claim and the asserted claims recite: Optimizing end user QoS

Claim 20 of the Adjudicated Jorgensen Patent                                           Claim 1 of Asserted ’206 Patent




                                                                                                                  • • •
                                                                                                                    EX#

                     EX#




                             • No distinction between these phrases
                                 - In the patents
                                 - In the prosecution history
                                 - In the inventor’s testimony
                                                                                                                          12
IV Is Issue Precluded from Relitigating the Indefiniteness of the “Optimize” Terms
                             Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 13 of 102 PageID #: 5635




 • Both the invalidated claim and the asserted claims recite: Optimizing “end user QoS

Claim 20 of the Adjudicated Jorgensen Patent
                                                                                    Claim 19 of Asserted ’206 Patent


                                                                                                                  EX#




                     EX#




                             • No distinction between these phrases
                                 - In the patents
                                 - In the prosecution history
                                 - In the inventor’s testimony
                                                                                                                        13
IV Is Issue Precluded from Relitigating the Indefiniteness of the “Optimize” Terms
                                Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 14 of 102 PageID #: 5636




    “Our precedent does not limit collateral estoppel to patent claims
    that are identical. Rather, it is the identity of the issues that were
    litigated that determines whether collateral estoppel should apply.”
     Ohio Willow Wood Co. v. Alps South, LLC, 735 F.3d 1333, 1342 (Fed. Cir. 2013) (emphasis in original)




                                                                                                                     14
Patents Treat End-User QoS for Application and IP Flow Interchangeably
                        Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 15 of 102 PageID #: 5637




 • The patents confirm that there is no difference between
   QoS requirements of an application and QoS requirements of an IP flow




                                                                                                             EX#




                          ’206 Patent 13:17-28                                                                     ’206 Patent at 68:24-39
                                                                                                                                             15
IV’s Delaware Arguments Confirm Identicality of Issues
                                         Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 16 of 102 PageID #: 5638




 • In the Delaware case, IV equated end user QoS requirements of an IP flow (traffic)
   and end user QoS requirements of an application
 • IV now relies on the same “application” disclosure” as showing “end user Qos for an IP flow”


                                                                         EX#




                                                                                                                                    EX#



                                     Dkt. 20 Ex. 7, (Claim Construction Mem. Op., Stark, J.)




                             EX#                                                                                              EX#




          Dkt. 20 Ex. 5, the Adjudicated ’248 Patent at 2:54-62                                       Dkt. 20 Ex. 5, the Adjudicated ’248 Patent at 14:43-50
                                                                                             Cited by IV in Dkt.111 at 9 as showing end user QoS for an IP flow
                                                                                                                                                                  16
IV’s Delaware Arguments on the ‘248 Patent Confirm Identicality of Issues
                            Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 17 of 102 PageID #: 5639




• IV stated to the Delaware Court
  (when arguing about optimizing end
  user QoS for an application) that a
                                                                              ***
  “key goal” of the patent is to
  “optimize the flow”




                                                             Dkt. 20 Ex. 6 (DE Markman Hearing Tr.), at 122:1-4, 122:10-21   17
IV’s Appeal Arguments on the ‘248 Patent Confirm Identity of Issues
                             Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 18 of 102 PageID #: 5640




 • IV’s claim construction brief
   argues for a different result
   because optimizing IP flows is
   performed by a network operator


                                                                                          Dkt. 111 (IV’s Opening Claim Construction Brief) at 10



 • IV made the same “network
   operator” argument to the
   Federal Circuit with respect to
   the “optimizing QoS for an
                                                                                                                  EX#




   application” term at issue there



                                                                                                    IV’s Opening Appeal Brief (No. 2017-2434) at 49
                                                                                                                                                 18
IV’s Claim Construction Briefing Confirms Identicality of Issues
                            Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 19 of 102 PageID #: 5641




 • In IV’s motion to dismiss briefing, it promised to show differences between end user
   QoS requirements for a flow and an application during claim construction




                                                                                                          Dkt. 44 at 3-4

 • But IV’s claim construction brief only confirms there are no differences




                                                                                                                           19
IV’s Claim Construction Briefing Confirms Identicality of Issues
                               Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 20 of 102 PageID #: 5642




                                                           Representative Claims of ’622 Patent Relied on By IV
 • IV abandons its
   distinction of end-user
   QoS for an “IP flow” and                                                                               …
   for an “application” by
   drawing its proposed
   construction from the                                                                                  …
   prosecution history of a
   claim reciting optimizing
   any end-user QoS.

                                                                Dkt. 111 Ex. 7 at 18-20 (’622 Patent Prosecution History, Applicant’s
                                                                                                               1/6/03 Appeal Brief)


                                                                                                                                        20
IV’s Claim Construction Briefing Confirms Identicality of Issues
                              Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 21 of 102 PageID #: 5643




 • The prosecution history that IV relies upon to establish the meaning of
   optimizing end-user QoS of an IP flow explicitly states that it refers to
   optimizing end-user QoS of an application
 • There is no difference between these concepts




           Dkt. 111 Ex. 7 at 12 (’622 Patent Prosecution History, Applicant’s 1/6/03 Appeal Brief)
                                                                                                                   21
Dependent Claims do not Affect Issue Preclusion Analysis
                       Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 22 of 102 PageID #: 5644




 •The dependent claims instruct what to do in addition to optimizing
  end user QoS, they do not inform what optimizing is



                                                            EX#




                                                                     ’206 Patent at Claim 121



                                                            EX#




                                                                     ’206 Patent at Claim 129



                                                                                                            22
Dependent Claims do not Affect Issue Preclusion Analysis
                            Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 23 of 102 PageID #: 5645




                                                                                                          EX#
                 EX#




                                                                                                                 ’971 Patent at Claim 18




                ’971 Patent at Claim 12
                                                                                                                                           23
IV Is Issue Precluded from Relitigating the Indefiniteness of the “Optimize” Terms
                             Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 24 of 102 PageID #: 5646




 • There is no difference between optimizing end-user QoS for an application and optimizing
   end user QoS for an IP flow

 • Confirmed by:

  - The patent claim (‘248 Patent, claim 20) equating the two

  - The patent specification equating the two

  - IV equating the two in its arguments in Delaware for the ‘248 Patent

  - IV equating the two in its arguments to the Federal Circuit for the ‘248 Patent

  - IV equating the two in its claim construction briefing (relying on prosecution history for
    any end-user QoS)

  - The inventor’s testimony


                                                                                                                  24
IV Is Issue Precluded from Relitigating the Indefiniteness of the “Optimize” Terms
                          Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 25 of 102 PageID #: 5647




     Identical issue
     Fully and vigorously litigated
     Necessary to support the judgment

     No special circumstances (Federal Circuit Affirmed)




                                                                                                               25
  IV Is Issue Precluded from Relitigating the Indefiniteness of the “Optimize” Terms
                                                     Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 26 of 102 PageID #: 5648




     • “optimize end user QoS” is recited in all asserted claims and has been found
       to be indefinite
     • Issue preclusion prevents IV from relitigating that issue here




                                                                                                                                          EX#



                                         EX#




                                                                                                        EX#




Dkt. 20 Ex. 7, Intellectual Ventures I v. T-Mobile USA, Inc., 1:13-cv-1671, Dkt. 370, at *21 (D. Del. Aug. 12, 2016) (Claim Construction Mem. Op.) (Stark, J.)   26
Terms of Degree Render a Claim Invalid where they Require Subjective Definition
                        Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 27 of 102 PageID #: 5649




    “[A] term of degree fails to provide sufficient notice of its
    scope if it depends on the unpredictable vagaries of any one
    person’s opinion.”
                          Interval Licensing LLC v. AOL, Inc., 766 F.3d 1364, 1371 (Fed. Cir. 2014)




                                                                                                             27
The Claim Term at Issue
                                 Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 28 of 102 PageID #: 5650




 • IV’s brief repeatedly excises the words “end user” from the claim term at issue –
   arguing that the issue is simply how to “optimize an IP flow”
  - Dkt. 126 at 5 (“patents teach how to optimize an IP flow”), 6 (“what is optimized in the asserted
    claims is an IP flow” and “the claims require optimizing for an IP flow”)


 • But every claim specifically recites optimizing end user QoS
  - “to optimize end-user quality of service (QoS)
    [for an Internet Protocol (IP) flow / associated with said IP flow]”
    (’971 Patent, Claim 12; ’206 Patent, Claims 1, 121)

  - “to optimize end-user internet protocol (IP) quality of service (QoS)”
    (’206 Patent, Claim 19)


 • IV argues as if “optimizing end-user QoS” is not recited in the claims

                                                                                                                      28
“Optimize” Is a Term of Degree, Depending on One Person’s Opinion
                      Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 29 of 102 PageID #: 5651




 •End-user QoS varies depending
  on the individual user


                                                                                                             ...




                                                                                                           ’206 Patent 11:41-56, 13:29-31
                                                                                                                                            29
“Optimize” Is a Term of Degree, Depending on One Person’s Opinion
                                 Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 30 of 102 PageID #: 5652




• The patents define “optimal” as
  “whatever manner the user
  defines it.”

  • There is no definition of “optimizing
    end user QoS for an IP flow” that is
    different from “optimizing end user
    QoS for an application”

  • One definition – depends on the user

• “Optimized” depends on the
  “unpredictable vagaries of any
  one person’s opinion,” rendering                                                                                    ’206 Patent 12:7-17
  the claim indefinite. See Interval
  Licensing, 766 F.3d at 1371.

                                                                                                                                            30
IV’s Proposed Construction Is Divorced from the Intrinsic Record
                            Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 31 of 102 PageID #: 5653




 • The term: “to optimize end-user quality of service (QoS)
   [for an Internet Protocol (IP) flow / associated with said IP flow]”

                                                 IV’s Construction
                             “[so as] to differentiate between types of
                               traffic or service types and allocate a
                              different level of system resources to an
                                     Internet Protocol (IP) flow”


 • Wrongly reads “end-user QoS” and “optimizing” out of the claims
  - Any differentiation and allocation at all – even if wholly unrelated to QoS, would
    suffice
  - Any differentiation and allocation at all – even if not optimal in anyone’s view,
    would suffice
                                                                                                                 31
IV’s Proposed Construction Is Divorced from the Intrinsic Record
                               Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 32 of 102 PageID #: 5654




 •IV wrongly reads "optimizing" out of the claims


             IV’s Construction
   “[so as] to differentiate between types of
     traffic or service types and allocate a
                                                                                                                    EX#




    different level of system resources to an
           Internet Protocol (IP) flow”




                                                                                                                    EX#




                                                                                                                          32
IV’s Proposed Construction Is Divorced from the Intrinsic Record
                              Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 33 of 102 PageID #: 5655




 •IV wrongly reads "optimizing" out of the claims




                                                                                                                   EX#




                                   ’206 Patent 14:10-16



• IV’s specification citations relate to claims
  like 109, which do not require optimizing                                                                        EX#




                                                                                                                         33
IV’s Proposed Construction Does not Provide Reasonable Certainty to POSITA
                                       Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 34 of 102 PageID #: 5656




• The prosecution history distinguished
  prior art that could not “differentiate
  between types of traffic or service types”

• Of course, if traffic or service types are
  not differentiated (all are treated the
  same), nothing can be done to optimize
  the end-user’s QoS, because no tradeoffs
  can be made between competing
  interests

• But merely differentiating services does
  not inform how each differentiated                                                                                    …
  service should be treated so that the end-
  user QoS is optimized

• Differentiated services can be allocated
  in optimal and non-optimal ways. It’s up
  to the user to determine what tradeoffs
  are optimal once services have been
                                                                                                                            Dkt. 111 Ex. 5, at 13-14
  differentiated
                                                                                                                                                   34
Optimizing End User QoS Requires Tradeoffs
                        Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 35 of 102 PageID #: 5657




 • The patents seek to optimize end-user QoS in the context of a network with
   multiple users and multiple IP flows competing for limited resources.




                                                        Dkt. 126 Ex. 10 (Second Williams Decl.), Paragraph 8



                                                                                                               35
IV’s Proposed Construction Is Divorced from the Intrinsic Record
                       Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 36 of 102 PageID #: 5658




  •Differentiating traffic and service type are not the end of the QoS
   mechanism inquiry – the user must define what treatment is optimal




                                                                                ’206 Patent 12:7-17

                                                                                                            36
  IV Is Issue Precluded from Relitigating the Indefiniteness of the “Optimize” Terms
                                               Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 37 of 102 PageID #: 5659




    • The Federal Circuit has affirmed that “optimiz[ing] . . . QoS” is indefinite
                                                          United States Court of Appeals
                                                              for the Federal Circuit
                                                                     INTELLECTUAL VENTURES I LLC,
                                                                            Plaintiff-Appellant
                                                                                    EX#
                                                                                      V.


                                                                T-MOBILE USA, INC., T-MOBILE US, INC.,
                                                              ERICSSON INC., TELEFONAKTIEBOLAGET LM
                                                                ERICSSON, UNITED STATES CELLULAR
                                                                          CORPORATION,
                                                                         Defendants-Appellees




                                                                                    EX#




Decision from Federal Circuit Court of Appeals in IV v. T-Mobile et al. (September 4, 2018), at 15                                  37
“Optimize” Lacks an Objective Boundary
                                     Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 38 of 102 PageID #: 5660




                                                                                                                          Id. at 47


   Dkt. 118 Ex. 1, Declaration of Dr. Izhak Rubin, Ph.D., ¶ 44




                                                                                                                                      38
IV’s Proposed Construction Does not Provide Reasonable Certainty to POSITA
                          Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 39 of 102 PageID #: 5661




 • As explained by Professor Rubin,
   knowing to treat similar groups
   in a similar manner when
   allocating resources does not
   provide objective guidance on
   how to perform the claimed
   “optimization.”




                                                                      Dkt. 118 Ex. 1, Declaration of Dr. Izhak Rubin, Ph.D., ¶ 52
                                                                                                                                39
IV’s Reliance on Sonix Is Misplaced
                                Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 40 of 102 PageID #: 5662




 • IV cites Sonix to suggest that summary judgment of indefiniteness is inappropriate
   when there are competing expert opinions.

 • There mere fact that there are competing expert opinions does not justify a finding
   of no indefiniteness, and Sonix did not suggest anything to the contrary.
    - See, e.g., Dow Chemical Co. v. Nova Chemicals Corp., 803 F.3d 620, 633-35 (Fed. Cir. 2015) (affirming
               indefiniteness of term, despite testimony from plaintiff’s expert that term is not indefinite);

            - Icon Health & Fitness Inc. v. Polar Electro Oy, 656 Fed. App’x 1008 (Fed. Cir. 2016) (affirming
                                       indefiniteness of term where there was competing expert testimony)
 • Sonix is distinguishable –

   - Unlike the “visually negligible” term at issue in Sonix, the “optimize” terms are not tied to an
     “objective baseline” such as “what can be seen by the normal human eye.”

   - Unlike the accused infringer in Sonix, Defendants have maintained the indefiniteness of
     “optimize” since their first invalidity contentions, and indeed, since before this case was filed.
                                                                                                                     40
                               Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 41 of 102 PageID #: 5663




“in an isochronous manner”
The ’629 Patent: Claim 1; ’971 Patent, Claim 12; ’206 Patent, Claim 123




                                                                                                                    41
The Parties’ Proposed Constructions
                              Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 42 of 102 PageID #: 5664




“in an isochronous manner” (’629 Patent, Claim 1; ’971 Patent, Claim 12; ’206 Patent, Claim 123)

 Defendants’ Construction                                                IV’s Construction
 “according to a consistent time interval”                               “in a manner which provides for consistent
                                                                         timed access”




Dispute(s):
• Whether the term is more appropriately understood by a jury in terms of consistent time intervals
  or the relatively more confusing and ambiguous term “consistent timed access”




                                                                                                                      42
IV’s Opening Brief Confirms that Intervals are Key to ’629 Solution
                                 Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 43 of 102 PageID #: 5665




 • IV’s brief explains
   that the ’629 Patent
   uses intervals to
   address issues.
                                                                                                            IV’s Opening Br. (Dkt. No. 111), at 2

 • The solution to the problem of “irregular time gaps between the packets” is packets
   being placed in frames “in an isochronous manner.”



                          ...
                           EX#                                                                                        ...
                                                                                                                       EX#




                           ’629 Patent at Claim 1                                                                      ’629 Patent at Claim 1
                                                                                                                                                    43
Specification
                         Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 44 of 102 PageID #: 5666




 • The specification uses the term “isochronous,” but does not explicitly define
   the claim term “in an isochronous manner.”




                                                                                      ’629 Patent at 61:41-46




                                                                                      ’629 Patent at 13:58-60
                                                                                                                44
Specification
                             Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 45 of 102 PageID #: 5667




 • “in an isochronous manner” means according to a constant time interval




                ’629 Patent at 61:41-59                                                                           ’629 Patent Figure 14

                                                                                                                                          45
The Parties’ Proposed Constructions
                               Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 46 of 102 PageID #: 5668




“in an isochronous manner” (’629 Patent, Claim 1; ’971 Patent, Claim 12; ’206 Patent, Claim 123)

 Defendants’ Construction                                                 IV’s Construction
 “according to a consistent time interval”                                “in a manner which provides for consistent
                                                                          timed access”




• Defendants’ construction uses an understandable term (interval) that the patent uses to describe
  “isochronous” placement.

• IV’s construction leaves ambiguity (access to what?) and results in a nonsensical read of the claim



                                                                                                                       46
                               Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 47 of 102 PageID #: 5669




“periodic variation”
The ’629 Patent: Claim 3; ’971 Patent, Claim 14




                                                                                                                    47
Claim Construction Table Slide
                              Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 48 of 102 PageID #: 5670




“periodic variation” (’629 Patent, Claim 3; ’971 Patent, Claim 14)

 Defendants’ Construction                                                IV’s Construction
 “changing of the placement between frames,                              Plain meaning, regular variation of the location
 while maintaining a consistent time interval”                           within frames into which the data is
                                                                         successively placed




Dispute(s):
• Does the periodic variation still have to be isochronous?
• Do the first and second packets need to be in different frames?



                                                                                                                            48
  ’629 Patent at Claims 1,2, & 3
                                                        Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 49 of 102 PageID #: 5671




* The comma between “frame” and “subsequent” in line 35 was a
                                                                                     ’629 Patent at Claims 1, 2, and 3
printing error and has been removed by agreement of the parties                                                                              49
Specification
                             Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 50 of 102 PageID #: 5672




 • With or without a "periodic variation," placement must still be
   “in an isochronous manner” (according to a constant time interval)




                ’629 Patent at 61:41-59                                                                           ’629 Patent Figure 14

                                                                                                                                          50
IV’s Opening Brief
                      Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 51 of 102 PageID #: 5673




 •IV’s brief agrees that any “periodic variation” still requires that the
  second packet be placed “in an isochronous manner” (according to a
  consistent time interval).
 •IV’s brief also agrees that the relevant placement occurs in
  successive transmission frames, not within a single frame:




                                                                                             IV’s Opening Br. (Dkt. No. 111), at 4

                                                                                                                                     51
  ’629 Patent at Claims 1,2, & 3
                                                        Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 52 of 102 PageID #: 5674




   • The first and second packets are
     placed into slots of different frames
       - First packet in a “future
         transmission frame”
       - Second packet in a transmission
         frame “subsequent in time to said
         future transmission frame”




* The comma between “frame” and “subsequent” in line 35 was a
                                                                                                                                       ’629 Patent at Claims 1, 2, and 3
printing error and has been removed by agreement of the parties                                                                                                            52
                             Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 53 of 102 PageID #: 5675




“host workstation”
The ’971 Patent: Claims 12




                                                                                                                  53
Parties’ Proposed Constructions
                                 Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 54 of 102 PageID #: 5676




“host workstation” (’971 Patent, Claim 12)

 Defendants’ Construction                                                   IV’s Construction
 “end-point running one or more applications                                Plain meaning, a computer or other device that
 and capable of serving as the source or                                    communicates with other computers on a
 destination of an IP flow to or from a subscriber                          network and includes a terminal or interface to
 end-point”                                                                 accept input



Agreement(s):
• “host workstations” must run applications. Dkt. 126 at 2 (“IV does not dispute that a host workstation runs
  applications”)
Dispute(s):
• Whether a host workstation is particular type of endpoint as described in the ’971 Patent
  (Defendants), or is merely any network device that accepts input (IV)


                                                                                                                              54
A “host workstation” Is an End-Point
                        Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 55 of 102 PageID #: 5677




 • Throughout the ’971 patent, every workstation is described as an end-point
   and not an intermediate device.




                                                                                                             ’971 Patent at Fig. 3B & 5A   55
A “host workstation” Runs Applications that Serve as the Source or
                             Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 56 of 102 PageID #: 5678




Destination of IP Flows to a Subscriber End-Point

                                                      • Both “host workstations” and “subscriber workstations” at each
                                                        end of the network have application layers 512, which are
                                                        described as the source or destination of IP flows to each other




                                                                                ’971 Patent at Fig. 5A. See also Fig. 17 (showing IP flow in a
                                                                         downlink direction) & Fig. 18 (showing IP flow in a uplink direction)
          ’971 Patent at 75:66-76:25
                                                                                                                                                 56
A “host workstation” Runs Applications that Serve as the Source or
                             Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 57 of 102 PageID #: 5679




Destination of IP Flows to a Subscriber End-Point

 •A construction that a “host workstation” is incapable of serving as
  the source or destination of an IP flow to a subscriber end-point
  would read out the preferred embodiment.




   “A claim interpretation that excludes a preferred embodiment from the
   scope of the claim ‘is rarely, if ever, correct.’”
         On–Line Techs., Inc. v. Bodenseewerk Perkin–Elmer GmbH, 386 F.3d 1133, 1138 (Fed. Cir. 2004)
                                                                                  (citation omitted).




                                                                                                                  57
                              Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 58 of 102 PageID #: 5680




’971 Means-Plus-Function Terms
The ’971 Patent: Claims 12 & 18




                                                                                                                   58
The Advanced Reservation Algorithm
                          Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 59 of 102 PageID #: 5681




              ’971 Patent at 61:40-46



                                 Current
                                 Frame




                                  Future
                                  Frames




                                                                                                               59
The Advanced Reservation Algorithm
                         Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 60 of 102 PageID #: 5682




              ’971 Patent at 62:2–11




                                                                                                              60
Parties’ Proposed Constructions
                                  Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 61 of 102 PageID #: 5683




“means for reserving a first slot for a first data packet of an Internet Protocol (IP) flow in a future
transmission frame based on said algorithm” (’971 Patent, Claim 12)

 Defendants’ Proposed Structure                                              IV’s Proposed Structure
 MAC downlink subframe scheduler 1566 or MAC                                 MAC subframe schedulers 1566 or 1666 configured
 uplink subframe scheduler 1666 implementing an                              to reserve slots in a future transmission frame in
 algorithm for assigning a first future slot that is at                      accordance with one or more of the patterns shown
 least one frame in the future from the current                              in Figure 14, by reserving a slot one or more
 frame based on the determination by the                                     frames in the future, or as described at ’971
 reservation algorithm of the latency- and jitter-                           Patent 23:14-35, 61:35-62:56, 63:47-57, 66:7-15,
 sensitivity of the flows, as described at ’971 Patent                       67:36-50, 71:63-72:04, 72:53-66, 73:27-40, Figs. 14,
 62:7-17, 62:46-54, 67:36-47, 73:27-37, Fig. 14                              15A, 15B, 16A, and 16B


Dispute(s):
• Does a “future frame” need to be subsequent in time relative to the current frame?



                                                                                                                                    61
IV Incorrectly Argues “current frame” Shouldn’t Be a Part of the Structure
                       Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 62 of 102 PageID #: 5684




 •IV argues to erase the distinction between a current frame and a
  future frame:




                                                                                                            IV Reply Br. at 9




                                                                                                                                62
The Advanced Reservation Algorithm
                               Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 63 of 102 PageID #: 5685




                   ’971 Patent at 61:40-46


• Future frames occur
  later in time than the              Current
                                      Frame
  current frame




                                       Future
                                       Frames




                                                                                                                    63
The Advanced Reservation Algorithm
                               Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 64 of 102 PageID #: 5686




                   ’971 Patent at 61:40-46


• The current frame is the
  next frame to be              Current
                                Frame
  transmitted
                                    N+1
• “Future” frames are           Future frame
  measured relative to the
  current fame (N+1, N+2)




                                                                                                                    64
Defendants’ Corresponding Structure
                       Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 65 of 102 PageID #: 5687




 •The corresponding structure for “means for reserving” the slots in
  “future frames” is understood with respect to a reference point, and
  that is the “current frame.”
 •IV’s reply brief argument illustrates that its construction contradicts
  the specification.




                                                                                                            65
Parties’ Proposed Constructions
                                 Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 66 of 102 PageID #: 5688




“means for reserving a second slot for a second data packet of said IP flow in a transmission frame
subsequent in time to said future transmission frame based on said algorithm” (’971 Patent, Claim 12)

 Defendants’ Proposed Structure                                             IV’s Proposed Structure
 MAC downlink subframe scheduler 1566 or MAC                                MAC subframe schedulers 1566 or 1666 configured
 uplink subframe scheduler 1666 implementing an                             to reserve slots in a second future transmission
 algorithm for assigning a second future slot that is                       frame in accordance with one or more of the
 at least two frames in the future from the current                         patterns shown in Figure 14, by reserving a slot two
 frame based on the determination by the                                    or more frames in the future, or as described at
 reservation algorithm of the latency- and jitter-                          ’971 Patent 23:14-35, 61:35-62:56, 63:47-57, 66:7-
 sensitivity of the flows, as described at ’971 Patent                      15, 67:36-50, 71:63-72:04, 72:53-66, 73:27-40, Figs.
 62:7-17, 62:46-54, 67:36-47, 73:27-37, Fig. 14                             14, 15A, 15B, 16A, and 16B


Dispute(s):
• Does the “transmission frame subsequent in time to said future transmission frame” need to be at
  least two frames in the future relative to the current frame? (Defendants’ position)


                                                                                                                                   66
The Advanced Reservation Algorithm
                               Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 67 of 102 PageID #: 5689




                                                                   “means for reserving a second slot . . . in a
                                                                   transmission frame subsequent in time to said future
                                                                   transmission frame”



                   ’971 Patent at 61:40-46

• The current frame is the
  next frame to be
                                Current
  transmitted                   Frame

• The first transmission            N+1
  frame that is subsequent      Future frame

  in time to said future             N+2
  transmission frame             transmission
                                    frame
  (N+1) is at least two         subsequent in
  frames later than the         time to future
                                    frame
  current frame (N)
                                                                                                                          67
Defendants’ Corresponding Structure
                       Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 68 of 102 PageID #: 5690




 •The corresponding structure for “means for reserving” the slots in
  “future frames” is understood with respect to a reference point, and
  that is the “current frame.”
 •IV’s reply brief argument illustrates that its construction contradicts
  the specification.




                                                                                                            68
Parties’ Proposed Constructions
                                  Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 69 of 102 PageID #: 5691




“assigning means for assigning future slots of a transmission frame to a portion of said IP flow in said
transmission frame for transmission over said shared wireless network” (’971 Patent, Claim 12)

 Defendants’ Proposed Structure                                              IV’s Proposed Structure
 MAC downlink subframe scheduler 1566 or MAC                                 MAC subframe schedulers 1566 or 1666
 uplink subframe scheduler 1666, implementing an
 algorithm that assigns future slots to a portion of an
 IP flow based on the priority of the IP flow, as
 described at ’971 Patent 61:65-62:11




Dispute(s):
• Whether the term is appropriately limited to the disclosed algorithm as required by WMS Gaming



                                                                                                                       69
WMS Gaming Requires an Algorithm for the Corresponding Structure
                        Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 70 of 102 PageID #: 5692




 • IV ignores that “subframe schedulers 1566 or 1666” are described in the
   specification as generic “processor module[s]” and require an algorithm
   under WMS Gaming.


   “In a means-plus function claim in which the disclosed structure is a
   computer, or microprocessor, programmed to carry out an algorithm,
   the disclosure structure is not the general purpose computer, but rather
   the special purpose computer programmed to perform the disclosed
   algorithm.”
                       WMS Gaming, Inc. v. Int’l Game Tech., 184 F.3d 1339, 1349 (Fed. Cir. 1999).

 • IV makes no attempt to identify any algorithm beyond the language of the
   claim itself.
                                                                                                             70
Defendants’ Proposed Structure Is Taken Directly from the Specification
                       Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 71 of 102 PageID #: 5693




                                                                                   ’971 Patent at 61:65-62:11

                                                                                                                71
Parties’ Proposed Constructions
                                Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 72 of 102 PageID #: 5694




“means for applying an advanced reservation algorithm” (’971 Patent, Claim 12)

 Defendants’ Proposed Structure                                            IV’s Proposed Structure
 MAC downlink subframe scheduler 1566 or                                   MAC subframe schedulers 1566 or 1666
 MAC uplink subframe scheduler 1666                                        configured to assign future slots to data
 implementing an algorithm that determines the                             packets based on the priority of the IP data
 latency and jitter sensitivity of flows and then                          flow with which the packet is associated, as
 determines how to assign slots based on that                              described at ’971 Patent 23:14-35, 61:35-
 determination (e.g., periodically or not, with                            62:56, 63:47-57, 66:7-15, 67:36-50, 71:63-
 what period), as described at ’971 Patent 51:11-                          72:04, 72:53-66, 73:27-40, Figs. 14, 15A,
 23, 61:6-16, 61:65-62:7, 62:32-37, Fig. 14                                15B, 16A, and 16B


Dispute(s):
• Whether the means for applying the advanced reservation algorithm is limited to structures
  performing that algorithm (Defendants) or instead covers structure implementing any future slot
  scheduling algorithm (IV)


                                                                                                                          72
IV’s recited structure is over-broad
                          Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 73 of 102 PageID #: 5695




• One embodiment relates to
  assigning future slots for
  any type of traffic


• Another embodiment is the
  Advanced Reservation
  Algorithm, which handles
  isochronous (jitter and
  latency sensitive) traffic

                                                                                                               ’971 Patent at 67:36–50
                                                                                                               (Id. at 73:27-40 similar)
                                                                                                                                           73
IV’s recited structure is over-broad
                            Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 74 of 102 PageID #: 5696




• 62:46-54 describes the
  advanced reservation
  algorithm


• IV improperly includes lines
  55-56 and Figures 15A, 15B,
  16A, and 16B – which do
  not describe the advanced                                                                                      ’971 Patent at 62:46-55
  reservation algorithm, but
  instead describe flow
  prioritization


                                                                                                                                           74
The Advanced Reservation Algorithm Handles Jitter and Latency Sensitive Traffic
                        Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 75 of 102 PageID #: 5697




•The specification only
 describes the advanced
 reservation algorithm as
 assigning slots to latency                                                                                  ’971 Patent at 61:65-62:7
 and jitter sensitive traffic




                                                                            ’971 Patent at 62:32-39, see also 62:30-45
                                                                                                                                         75
IV’s “Ellipse” argument is meritless
                           Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 76 of 102 PageID #: 5698




 •Figures 8A and 8B do not address assigning packets to slots in a
  frame.
 •Instead, they deal with a process placing packets into priority class
  queues, a separate process from the advanced reservation
  algorithm’s operation.




                 ’971 Patent at 61:65-62:7
                                                                                                        ’971 Patent at 51:56-52:20
                                                                                                                                     76
Parties’ Proposed Constructions
                                 Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 77 of 102 PageID #: 5699




“means for taking into account service level agreement (SLA) based priorities for said IP flow” (’971
Patent, Claim 18)

 Defendants’ Proposed Structure                                             IV’s Proposed Structure
 downlink scheduler 604/1566 or uplink scheduler                            Downlink scheduler 604/1566 or uplink scheduler
 634/1666 implementing an algorithm that increases                          634/1666 configured to use information from SLA
 or decreases queuing priority of an IP flow based on                       priority data table 1570 to affect the queueing
 the service level agreement of the user associated                         function and provide different service levels to
 with the IP flow, as described at ’971 Patent 53:49-                       users
 57, 53:34-36, 66:57-63




Dispute(s):
• Whether the term is appropriately limited to the disclosed algorithm as required by WMS Gaming




                                                                                                                               77
Defendants’ Proposed Structure Identifies the Only Algorithm Described
                       Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 78 of 102 PageID #: 5700




 •Defendants’ structure identifies the only algorithm described for
  taking into account SLA-based priorities:




                                                                                                    ’971 Patent at 66:56-63


                                                                                                                              78
IV’s Structure and Citations Merely Reiterate the Claimed Function
                           Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 79 of 102 PageID #: 5701




 • The portions of the specification
   that IV cites simply reiterate the
   claimed function, without
   specifying any algorithm of how
   the function is performed:

                                                                                                                ’971 Patent at 53:49-57



    “Labeling the devices as ‘electronic’ and repeating their function does
    not identify structure.”
                                Robert Bosch, LLC v. Snap-On Inc., 769 F.3d 1094, 1101 (Fed. Cir. 2014)

                                                                                                                                          79
                               Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 80 of 102 PageID #: 5702




“the analyzed contents” / “the analyzed
packet contents”
The ’517 Patent: Claims 1 and 12




                                                                                                                    80
Parties’ Proposed Constructions
                              Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 81 of 102 PageID #: 5703




“the analyzed contents” / “the analyzed packet contents” (Claims 1 & 12)

 Defendants’ Construction                                                IV’s Construction
 “analyzed contents of the packets to be                                 Plain meaning, the portion of the packets
 communicated over the shared wireless bandwidth                         previously analyzed.
 in the downlink direction”




Dispute(s):
• Whether antecedent basis mandates the term has the same meaning throughout the claim.




                                                                                                                     81
The Parties Agree That Antecedent Basis Applies to “Analyzed Contents”
                       Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 82 of 102 PageID #: 5704




 •IV concedes that the term finds antecedent basis in the “analyzing” step




                                                           ...




                                                                                 ’517 Patent at Claim 1
                                                                                                            82
IV’s Criticisms of Defendants’ Construction are Misplaced.
                        Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 83 of 102 PageID #: 5705




 •After taking the unsupportable position that the term “content”
  should be replaced with “portion,” IV’s Reply Brief backpedals and
  now expresses “no preference for portion.”
                                                                                                             - IV Reply Br. at n.3

 •IV also inexplicably argues that including the full antecedent basis
  for the term as recited in the analyzing step somehow amounts to an
  “attempt to limit the claim terms.”
                                                                                                                      - Id. at 10

 •To the contrary, Defendants’ construction merely confirms that the
  same meaning for “contents” applies throughout the claim.
 •Accordingly, Defendants’ construction should be adopted

                                                                                                                                     83
                               Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 84 of 102 PageID #: 5706




The Allocation Terms
The ’517 Patent: Claims 1 and 12




                                                                                                                    84
Parties’ Proposed Constructions
                                 Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 85 of 102 PageID #: 5707




“allocating the shared wireless bandwidth between the wireless base station transmitting in the downlink
direction and the at least one CPE station transmitting in the uplink direction” (’517 Patent, Claim 1)

 Defendants’ Construction                                                                             IV’s Construction
 “allocating the shared wireless bandwidth between (1) the                                            Plain meaning, no construction
 wireless base station transmitting in the downlink direction and                                     necessary.
 (2) the at least one CPE station transmitting in the uplink
 direction”




Dispute(s):
• Whether the claims’ plain wordings require an allocation decision to be made between uplink and
  downlink transmissions (Defendants), or could more broadly be interpreted to be any allocation to a
  UE or base station (IV)


                                                                                                                                       85
Parties’ Proposed Constructions
                                Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 86 of 102 PageID #: 5708




“allocate wireless bandwidth between the uplink direction and the downlink direction responsive to the
analyzed packet contents and the analyzed reservation requests” (’517 Patent, Claim 12)

 Defendants’ Construction                                                                            IV’s Construction
 “allocate wireless bandwidth between (1) the uplink direction                                       Plain meaning, no construction
 and (2) the downlink direction responsive to the analyzed packet                                    necessary.
 contents and the analyzed reservation requests”




Dispute(s):
• Whether the claims’ plain wordings require an allocation decision to be made between uplink and
  downlink transmissions (Defendants), or could more broadly be interpreted to be any allocation to a
  UE or base station (IV)


                                                                                                                                      86
Claim 12 Plainly Requires an Allocation Choice between Uplink and Downlink
                        Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 87 of 102 PageID #: 5709




 • Defendants’ proposed notations merely clarify that the allocation is made
   between the (1) uplink direction and (2) downlink direction



                                                            ...




                                                                                          ’517 Patent at Claim 12




                                                                                                                    87
Claim 1 Is Consistent In Meaning With Claim 12
                        Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 88 of 102 PageID #: 5710




 • Claim 1 consistently requires the allocation to be made between: (1) the BS
   transmitting in the downlink, and (2) the CPE transmitting in the uplink:




                                                            ...




                                                                                             ’517 Patent at Claim 1


                                                                                                                      88
The Specification is Consistent with the Claims’ Plain Meaning
                       Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 89 of 102 PageID #: 5711




 • Figure 13 illustrates a
   shared wireless bandwidth
   being allocated between
   uplink and downlink
   portions.



                                                                                                            ’517 Patent at Figure 13

                                                                                                                                       89
The Specification is Consistent with the Claims’ Plain Meaning
                        Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 90 of 102 PageID #: 5712




 •The patent discloses
  allocating slots (i.e.,
  bandwidth) between
  uplink and downlink:



                                                                                                             ’517 Patent at 53:17-29


                                                                                                                                       90
The Specification Is Consistent with the Claims’ Plain Meaning
                        Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 91 of 102 PageID #: 5713




 •The patent discloses
  allocating slots (i.e.,
  bandwidth) between
  uplink and downlink:




                                                                                                             ’517 Patent at 54:4-18
                                                                                                                                      91
IV’s Reply Confirms IV’s Departure from Plain Meaning
                       Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 92 of 102 PageID #: 5714




 •IV improperly proposes these terms merely refer to allocating
  between a “wireless base station” and “at least one CPE station.”




                                                                                                 IV’s Reply Br. (Dkt. No. 126), at 12
                                                                                                                                        92
Construction is Required Because IV Has Rejected the Claim’s Plain Meaning
                       Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 93 of 102 PageID #: 5715




 •IV’s apparent interpretation of Claim 1 would render the
  “transmitting” clauses superfluous.




                                                           ...




                                                                                            ’517 Patent at Claim 1


                                                                                                                     93
Construction is Required Because IV Has Rejected the Claim’s Plain Meaning
                       Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 94 of 102 PageID #: 5716




 •IV’s apparent interpretation would require re-writing Claim 12 to
  replace “uplink direction and downlink direction” with “base station
  and CPE station.”


                                                           ...
                                                                                                                     Base
                                                                                                                    station
                                                                                                                   and CPE
                                                                                                                    station




                                                                                         ’517 Patent at Claim 12

                                                                                                                              94
IV’s Criticisms of Defendants’ Construction Are Meritless
                        Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 95 of 102 PageID #: 5717




 •IV asserts Defendants’ construction seeks to limit the claim to a
  particular embodiment requiring “dynamic” allocation and “variable
  length subframes.”
  - IV’s criticism is meritless; Defendants are not seeking to “limit” the
    claims to particular embodiments, only a construction that recognizes
    the claims’ plain and ordinary meaning.
  - Not seeking to limit claim to “dynamic” allocations or to “subframes.”
 •IV argues that Defendants’ wrongfully ignore the claims’ recitation
  of a base station and UE; this is false. To the contrary it is IV’s
  interpretation that ignores the plain language of the claim
                                                                                                             95
                             Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 96 of 102 PageID #: 5718




“said plurality of packets”
The ’206 Patent: Claim 109




                                                                                                                  96
Parties’ Proposed Constructions
                                 Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 97 of 102 PageID #: 5719




“said plurality of packets” (’206 Patent, Claim 109)

 Defendants’ Construction                                                   IV’s Construction
 “the plurality of packets” that are scheduled for                          Plain meaning, said two or more packets.
 communication over a shared wireless bandwidth
 are the same plurality of packets that are classified

 Or, alternatively:

 “the same plurality of packets that are
 classified”


Dispute(s):
• Whether antecedent basis mandates the term has the same meaning throughout the claim




                                                                                                                       97
The Same Packets that are Classified are Referred to Throughout the Claim
                       Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 98 of 102 PageID #: 5720




                                                                                                       ’206 Patent at Claim 109


                                                                                                                                  98
The Specification Is Consistent With Defendants’ Construction
                       Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 99 of 102 PageID #: 5721




 •The same data packets placed in queues by class are scheduled for
  transmission.




                                                           ...




                                                                                            ’206 Patent at 58:28-43
                                                                                                                      99
IV’s Briefing Does Not Dispute that Antecedent Basis Applies
                        Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 100 of 102 PageID #: 5722




 • Instead, IV attempts to sidestep the antecedent basis issue by merely
   proposing “plurality of” means “two or more” (which is undisputed and
   beside the point).
 • Accordingly, the Court should construe the term consistent with the claim
   and confirm that the same plurality of packets are referred to throughout.




                                                                                                  IV’s Reply Br. (Dkt. No. 126), at 12
                                                                                                                                         100
Koninklijke KPN N.V. v. Samsung Electronics Co. (E.D. Tex. 2016)
                                 Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 101 of 102 PageID #: 5723




Same dispute:
   “The parties have disputed whether ‘data packets’ must be the same data packets throughout each
   claim”

                    Koninklijke KPN N.V. v. Samsung Elecs., Co., 2:14-cv-1165-JRG, 2016 WL 2610649, at *5
Claim at issue:                                                       (E.D. Tex. May 6, 2016) (Gilstrap, J.)

   19. A communication system comprising:
   ...
   the user station is arranged for issuing data packets according to a first protocol and the at least one
   services station is arranged for receiving the data packets according to the first protocol, and
   ...
   a first network arranged for transmitting data according to a second protocol, a first device for
   receiving the data packets issued by the user station and for supplying said data packets to the first
   network,
   ....

                                                                                                                       Id.

                                                                                                                             101
Koninklijke KPN N.V. v. Samsung Electronics Co. (E.D. Tex. 2016)
                              Case 2:17-cv-00577-JRG Document 143-1 Filed 09/05/18 Page 102 of 102 PageID #: 5724




 •The Court’s Construction affirmed the data packets are the same
  throughout the claim:




      Koninklijke KPN N.V. v. Samsung Elecs., Co., 2:14-cv-1165-JRG, 2016 WL 2610649, at *7
                                                        (E.D. Tex. May 6, 2016) (Gilstrap, J.)

                                                                                                                    102
